Case 1:07-cr-00349-CG-N          Doc# 50      Filed 07/25/08     Page 1 of 3      PageID# 133




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ALABAMA
                              SOUTHERN DIVISION


UNITED STATES OF AMERICA                        )
                                                )
v.                                              )   CRIMINAL NO. 07-0349-WS
                                                )
ARACELY LOPEZ,                                  )
                                                )
       Defendant.                               )

                                            ORDER

       This matter comes before the Court on defendant Aracely Lopez’s Motion to Dismiss
Indictment (doc. 37).1 The Motion has been briefed and is ripe for disposition.
       On October 25, 2007, defendant Aracely Lopez and two co-defendants (Ramon Garza, Jr.
and Elda Lopez) were indicted in this District Court. The two-count Indictment (doc. 1) charged
them with conspiring to possess with intent to distribute approximately 315 kilograms of
cocaine, in violation of 21 U.S.C. § 846, as well as a forfeiture count. A Superseding Indictment
(doc. 10) filed on April 25, 2008 expanded on its predecessor by adding a fourth defendant
(Belinda Lopez), as well as 22 brand-new counts. The relevant newly added counts concerning
defendant Aracely Lopez include a count of money-laundering conspiracy in violation of 18
U.S.C. § 1956(h), and 18 counts of specific, substantive money laundering violations allegedly
performed by Aracely Lopez on particular occasions between October 6, 2003 (at the earliest)
and December 18, 2006 (at the latest). The conspiracies identified in both the § 846 conspiracy
count (Count One) and the § 1956(h) conspiracy count (Count Two) are temporally framed in the
Superseding Indictment as having been carried out “[f]rom in or about January of 2001, to and

       1
                The first sentence of the Motion states that both Aracely Lopez and co-defendant
Elda Lopez are moving for dismissal; however, these two defendants are represented by different
counsel, and the Motion is signed only by Aracely Lopez’s counsel, with no indication that Elda
Lopez or her attorney intended to join in the Motion. In its Response (doc. 45), the Government
points out this fact and states its position that the Motion is pending only as to Aracely Lopez.
In the absence of any showing by Elda Lopez that she is joining in the Motion, the Court agrees
that the Motion is exclusively brought by Aracely Lopez, and the Motion will be considered only
as to that defendant. That said, even if the Motion were deemed as having been brought by Elda
Lopez as well as Aracely Lopez, the reasoning and result would be unchanged.
Case 1:07-cr-00349-CG-N           Doc# 50      Filed 07/25/08      Page 2 of 3       PageID# 134




continuing through on or about December 31, 2006.”
       Aracely Lopez has now moved to dismiss the Superseding Indictment for the stated
reason that “the crimes enumerated in said indictment are outside of the five year time
limitations set by statute.” (Doc. 37, at 1.) Movant further asserts that “although the indictment
alleges that the defendants engaged in illegal conduct until December 31, 2006, the overt acts,
assuming arguendo that they did indeed transpire, occurred in 2001.” (Id.)
       Movant is correct that all of the charges against her are subject to the five-year
limitations period prescribed by 18 U.S.C. § 3282, which provides that, in general, a defendant
cannot be prosecuted for non-capital offenses “unless the indictment is found or the information
is instituted within five years next after such offense shall have been committed.” 18 U.S.C. §
3282(a); see also United States v. Harriston, 329 F.3d 779, 783 (11th Cir. 2003) (limitations
period for drug conspiracy charge is five years); United States v. LaSpina, 299 F.3d 165, 173 (2d
Cir. 2002) (“The statute of limitations for actions brought under § 1956(h) is five years.”). The
earliest substantive count with which Aracely Lopez is charged relates to an alleged offense
committed on or about October 6, 2003; therefore, it is clear that all 18 substantive counts of
money laundering against her are timely for limitations purposes. The only remaining question
is whether the two conspiracy counts are timely.
       The law of this Circuit is well settled that both money-laundering conspiracies under 18
U.S.C. § 1956(h) and controlled substance conspiracies under 21 U.S.C. § 846 are non-overt act
conspiracies, as a matter of law. See United States v. Hall, 349 F.3d 1320, 1329 (11th Cir. 2003)
(“Given the absence of any language in § 1956(h) requiring proof of an overt act, we find that an
overt act is not an essential element for conviction of conspiracy to commit money laundering.”);
Harriston, 329 F.3d at 783 (“The government is not required to prove an overt act for ... a drug
conspiracy under 21 U.S.C. § 846 ....”). Because overt acts are not essential elements of either
the § 1956(h) conspiracy or the § 846 conspiracy with which Aracely Lopez has been charged,
her suggestion that any overt acts occurred in 2001, outside the five-year limitations period,
lacks any significance for purposes of assessing whether those charges are time-barred. Rather,
for these counts, “[t]he government satisfies the requirements of the statute of limitations for a
non-overt act conspiracy if it alleges and proves that the conspiracy continued into the
limitations period.” Harriston, 329 F.3d at 783 (emphasis added); see also United States v.

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Case 1:07-cr-00349-CG-N           Doc# 50      Filed 07/25/08      Page 3 of 3      PageID# 135




Arnold, 117 F.3d 1308, 1313 (11th Cir. 1997) (same). Of course, “[a] conspiracy is deemed to
have continued as long as the purposes of the conspiracy have neither been abandoned nor
accomplished and the defendant has not made an affirmative showing that the conspiracy has
terminated.” Harriston, 329 F.3d at 783; see also Arnold, 117 F.3d at 1313 (similar).
       The Superseding Indictment unequivocally alleges that both the § 846 conspiracy and the
§ 1956(h) conspiracy continued until the end of 2006, well within the five-year limitations
window. Moreover, the Government asserts that it expects the evidence at trial to establish, inter
alia, that the cocaine conspiracy, and Aracely Lopez’s direct, ongoing involvement in same,
continued well past October 2002 (which is five years before the Indictment was handed down);
and that Aracely Lopez’s substantive acts in furtherance of the money laundering conspiracy (as
charged in counts three through twenty-two of the Superseding Indictment) continued into 2006.
These facts, if supported by evidence at trial, would establish that the conspiracies for which
Aracely Lopez is being prosecuted continued well into the five-year limitations period, such that
both the Indictment and Superseding Indictment against her are not time-barred.
       In light of the foregoing, the Court concludes that charges leveled against Aracely Lopez
in the Indictment and Superseding Indictment are not time-barred, inasmuch as both conspiracy
counts involve non-overt act conspiracies alleged to have continued through December 2006,
and the substantive money-laundering counts against her involve criminal acts alleged to have
occurred between October 2003 and December 2006. For these reasons, the Motion to Dismiss
Indictment (doc. 37) is denied.


       DONE and ORDERED this 25th day of July, 2008.



                                                      s/ WILLIAM H. STEELE
                                                      UNITED STATES DISTRICT JUDGE




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